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§AO 199A (Rev. 6197) Order Setting Conditions ot`Release Page l ol` Pages

 

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UNITED STATES DISTRICT COURPATE’ .
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Westem Districr or TUH¢\E!».€&S"

 

 

United States of Arnerica
ORDER SETTING CONDITIONS

 

V. OF RELEASE
O,q n+bi;o~.. Re,v\ee jenkins case Numb¢r¢ 51:05-€2 - 30 3 l‘»‘ “Ml
d Defendant

lT IS ORDERED that the release of the defendant is subject to the following eonc|itions:
( l) 'I`he defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

direct=d. Th¢ defendant shall appearar (ifblank, to be noiined) Courtroom #4. th Floor. Federal Building. 167

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N.Mainst..Memphis,TNss1oa on We&. Nou. |Q,Qoos cul- ‘i'.ooflwt_.-.

Date and Time

Release on Personal Recogoizance or Unsecured Bond
IT IS FURTHER ORDERED that the defendant be released provided that:
( \/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
( ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.

 

 

DISTR.lBUTlON.' COURT DEFENDANT PRETRIAL SERV|CES U,S.A'ITORNE\’ U.S.MARSHAL

Thls document entered on the docket sheet in compliance
with Ru|e 55 anal/or 32(!:)) FFlCrP on '

 

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Additional Conditions of Release

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and die
community . _ _
lT lS FURTHER ORDERED that the release of` the defendant is subject to the conditions marked below:
( ) (6) i`lie defendant is placed in the custody d`: " '
(Name ot` person or organizaqu
(Addres\
(City and statc) (Tel. No.)

who agrees ra} to supervise the defendant in accordance with all the conditions ot`re|ease_ tb) to use every effort to assure the appearance ot`the defendant at all scheduled conn
proceedings and (c) to notify the court immediately in the event the defendant violates any conditions ol` release or disappears.

 

 

 

Sigrted:

 

Custodian or Proxy D¢¢

( ) {7) The defendant shall.'
(\/) (a) report to the E,Ee if t gas 5££!§§;£ § .
telephone number , not later than .
( l (b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:

 

 

( ) [c) post with the court the following indicia ot`ownership ot` the above-described property. or the following amount or percentage ot` the abovedescnbed

 

[ ) (d) execute a bail bond with solvent sureties iri the amount ot`$
( \/ ) (e) maintain or actively seek employan
( ) (t) maintain or commence an education program.
{ ) (g) surrender any passport to:
(
(

 

 

)(lt) obtain no passport
)(l) abide by the following restrictions on personal association place of abode. or travel:

 

( ){j) avoid all contact directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution including but not limited to;

( )(k) undergo medical or psychiatric treatment and/or remain iri an institution as follows:

( )(l) return to custody each (week) day as of o’cloclt alter being released each (week) day as of o’cloclr for employment
schooling, or the following limited purpose(s):

 

( ) (m) maintain residence ata halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer.

( ) (n) refrain from possessing a tireami, destructive device, or other dangerous weaponsl

( )(o} refrain from ( ) any ( )exeessive use of alcohol. ‘\ -

( ) (p) refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
practitioner.

( ) (q) submit to any method of testing required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited-
substance. Such methods may be used with random frequency and incl\.ide urine testing the wearing ot'a sweat patch, a remote alcohol testing system, and!or
` any form of` prohibited substance screening or testing
( ) (r) participate in a program ot‘ inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer.
( ) (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testingor electronic
monitoring which is (are) required as a eondition(s) of release.
( ) (t) participate in one of the following home confinement program components and abide by all the requirements of the program which ( ) will or
( ) will not include electronic monitoring or other location verification system \’ou shall pay all or part of the cost of the program based upon your ability
to pay as determined by the pretrial services office or supervising ot`ficer.
( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as directed by the preu*ial
services ohice or supervising ocher, or
( ) (ii) Home Deteiition. You are restricted to your residence at all times except for employment; education; religious services; medica|, substance abuse,
or mental health ueaonent; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
ofiice or supervising officer, or
( ) (iii) Hoine lricarcerntion. You are restricted to your residence at all times except for medical needs or treatman religious service¢, and court
appearances pre-approved by the pretrial services office or supervising ofticer.
( ) (u) report as soon as possible. to the pretrial services office or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any mesa questioning or annie stop.

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DISTRIBUT|ON.' COURT DEFENDANT PR.ETR]AL SERVICES U.S.AT`I`ORNEY U.S.MAR.SHAL

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Advice of Penalties and Sanctions
TO TI'[E DEFENDANT:
YOU ARE ADVISED OF THE FOLLOW|NG PENALTIES AND SAN.CTIONS:

A violation of any of the foregoing conditions of' release may result in the immediate issuance of a warrant for your arrest, a
revocation of release. an order of detention. and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

The commission of a cheral offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten ycars, if the offense is a felony; or a term of imprisonment of riot more than one year, ifthe offense is a misdemeanor.
This sentence shall be in addition to any other sentence

Fedcra| law makes it a crime punishable by up to 10 years of imprisonment, and a 3250.000 fine or both to obstruct a criminal
investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or infonnant; or to intimidate or attempt to intimidate a witriess, -
victim,juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing.

Ifafter release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If` you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than 5100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgmeot of Defeudant

[ acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
_ of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth

above.

   

Signature of Defend

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Address

LZH/HMQ,¢§ /U_r ZJM@ ada oa/-
'- ---n_`State Telephone § 553 (/
56 i’~é<% ~2/%7 _
Directions to Uoited States Marshal

( \/) The defendant is ORDERED released aher processing
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the

defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the

appropriatejudicial officer ar the time and place specified, if still in custo . mQQ&QQF

Date: 8/ 83 ]LS
' ' Signature of Judicial Officer

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Name and Ti e of ludicial Ofi`icer

 
  
   

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-203 14 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

